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  ATTORNEYS FOR
  HIGH PLAINS RADIO NETWORK, LLC,
  DEBTOR AND DEBTOR IN POSSESSION


                                              UNITED STATES BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF TEXAS
                                                   WICHITA FALLS DIVISION

   IN RE:                                                            §
                                                                     §
   HIGH PLAINS RADIO NETWORK,                                        §       CASE NO. 24-70089-swe
   LLC,                                                              §      (Chapter 11, Subchapter V)
        DEBTOR.                                                      §
                                                                     §

              SUBCHAPTER V PLAN OF HIGH PLAINS RADIO NETWORK, LLC
              DATED March 24, 2025


1. INTRODUCTION AND BACKGROUND INFORMATION.

1.1.          This Plan of Reorganization (the “Plan”) under Subchapter V of Chapter 11 of the
              Bankruptcy Code, 11 U.S.C. § 1101 et seq. (the “Code”) is filed by High Plains Radio
              Network, LLC (the “Debtor” or “HPRN” or the “Company”).

1.2.          HPRN filed this case on March 26, 2024 (the “Petition Date”). Scott Seidel is the
              Subchapter V Trustee.

1.3.          For convenience, this plan is based upon the former official small business form, Form
              B25B. Controlling definitions and rules of construction appear in Section 9 below.

1.4.          All creditors and equity security holders should refer to Section 3 through Section 6 of this
              Plan for information regarding the precise treatment of their claim. You should read these
              papers carefully and discuss them with your attorney, if you have one. (If you do not
              have an attorney, you may wish to consult one.)

1.5.          Description and History of the Debtor’s Business.

              1.5.1.               On May 24, 2007, HPRN was registered as a Texas limited liability company.
                                   The principal of HPRN at all relevant times has been Monte Spearman
                                   (“Spearman”).




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              1.5.2.               As of January, 2020, the Company commenced the seventh year of a master
                                   plan commenced in 2014 to grow and develop the Company with the purchase
                                   of numerous small market radio stations, implement all mastered operations by
                                   design for efficiently, and have enough stations with a combined population to
                                   start the process of working with the national agency buyers to grow the
                                   national income side of the business and to also be able to maintain the local
                                   business and community needs efficiently. The Company was on track as
                                   originally designed.

              1.5.3.               As of January, 2020, the Company debt totaled only $880,000, payables owed
                                   to be fully current were approximately $300,000, general operations were
                                   budgeted to be approximately $3,000,000, and we were projecting income
                                   between $4,000,000 and $4,400,000. The Company had grown to 46 radio
                                   stations spread out over the states of: Arkansas, Colorado, Mississippi, New
                                   Mexico, Oklahoma, and Texas.

              1.5.4.               HPRN had purchased enough stations to have a total population count whereby
                                   HPRN felt that it could begin to attract the national agency buys. HPRN
                                   believed that with continued heavy payment towards debt, HPRN could
                                   possibly end 2020 with all Company debt paid in full and all growth plans
                                   completed, meaning that HPRN would be able to start 2021 with the full
                                   completion of the original seven year growth plan, that was started in 2014.
                                   HPRN was on track, dealt with the ups and downs, made the needed purchases,
                                   installed the needed operational systems, hired the best available people on a
                                   local basis, and we were fully set to move into the final steps of the original
                                   master plan.

              1.5.5.               Beginning in March, 2022, the Covid-19 pandemic became a completely
                                   unknown part of the operational environment. Covid impacted all of the small
                                   local communities served by HPRN. The radio stations were local leaders for
                                   high school sports, local community annual events, and so forth. With all of
                                   those events shut down the ability to sell advertising and collect the associated
                                   revues from high school events decreased significantly.

              1.5.6.                Eventually throughout 2020, 2021, 2022, and into 2023, the Company reduced
                                   our staffing down to only 25% of the total headcount from the beginning of
                                   2020, started to combine operations to eliminate and to minimize operations
                                   cost. Income continued to decrease to approximately 60% of the previous years
                                   and to less than 50% of what had been projected for 2020 and beyond.

              1.5.7.               To maintain the cashflow needs, the Company started to make small equipment
                                   loans and small cash-advance loans (both in the name of the Company and some
                                   in the name of Mr. Spearman, individually) for cash injections into the
                                   Company. The Company was awarded the PPP loans twice, qualified for some
                                   of the ERC payments, and received one small Covid related loan with SBA.




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              1.5.8.               The Company is responsible for all local communications to our communities
                                   as required by the FCC, and the Company spent the funds necessary to maintain
                                   those standards with on-air audio products and for coverage of the signals. The
                                   Company struggled but did operate properly as required. The Company started
                                   to make various technical changes to numerous stations. All changes required
                                   the need to receive approval of the FCC, which is very expensive and takes a
                                   lot of time and engineering.

              1.5.9.               As 2023 arrived, and the Covid period started to end, the operations began to
                                   return to normal. However, clients were slow to restart their business
                                   operations, and the smaller communities had themselves had changed in the
                                   process. For example, in one of our communities, these are the changes caused
                                   by Covid.

  High School Sports                                                 No or minimal events for 2020-2022   Restarted in 22-23
  Community Annual Event                                             No or minimal events for 2020-2022   Restarted in 22-23
  New Auto dealerships                                                          Before: 4                     After: 1
  Local Restaurants                                                             Before: 23                    After: 11
  Furniture Stores                                                              Before: 6                     After: 2
  Real Estate Agencies                                                          Before: 9                     After: 4
  Farm Implement Dealers                                                        Before: 6                     After: 3

              1.5.10.              Every locally owned business that closed was more than likely a previous
                                   customer of the local radio station. The income revenue lost was regained only
                                   very slowly from those businesses and hopefully the communities will become
                                   financially solid in time and more locally owned businesses will open and the
                                   radio station(s) local clientele and income will reestablish itself.

              1.5.11.              Looking forward, business has started to regrow, and the Company is operating
                                   more efficiently than ever before. With more direct management of the sales,
                                   the Company expects to become more profitable and for the cashflow to
                                   increase across the assets that remain in operation.

              1.5.12.              In addition to challenges from economy conditions, the Company faced
                                   difficulties beginning in 2017 in its relationship with its primary tower lessor,
                                   Vertical Bridge REIT, LLC and its affiliates (collectively, “Vertical Bridge”).

              1.5.13.               Prior to the Petition Date, Vertical Bridge and HPRN engaged in one more
                                   disputes. The history of that dispute is summarized in the Motion of Debtor to
                                   Approve Resolution Agreement with Vertical Bridge REIT, LLC and its
                                   Affiliates (Docket No. 220) and the resulting Order (Docket No. 253) approving
                                   the Bankruptcy Resolution Agreement. The resolution of the various disputes
                                   with Vertical Bridge provides the framework for the opportunity for the
                                   continuity of the Vertical Bridge tower leases as assumption and assignment
                                   under Code §365 under terms provided by Vertical Bridge and/or the ability to
                                   enter into new leases with the various purchasers.




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1.6.          Insiders and Management of HPRN. Monte Spearman is the sole member of the Debtor,
              and is the manager and/or president of the Debtor. He will continue in the same capacity
              after confirmation through the Plan. His salary will be $60,000 per year upon the Effective
              Date.

1.7.          Significant distributions to be made under the Plan and during the Chapter 11 case.

              1.7.1.               The history and background of HPRN, and the events leading to bankruptcy,
                                   case are summarized above.

              1.7.2.               Events during and information relating to this Bankruptcy Case: The entirety
                                   of the events that have occurred during this Chapter 11 case may be found on
                                   docket sheet of this case available at the Court or through the PACER website
                                   of the Court, https://ecf.txwb.uscourts.gov/. Copies of all the pleadings filed
                                   in the Bankruptcy Case also are available for download at a Google Drive folder
                                   at the link.

                              https://drive.google.com/drive/folders/1Ev7qSGXE50QmRDQfrQ1vUmudKh
                              U2hA5R?usp=sharing


              1.7.3.               Recovery of Avoidable Transfers and other claims and causes of action of the
                                   estate. HPRN shall RETAIN avoidance actions or any other claims, causes of
                                   action, and/or any and all other lawsuits under Code §§544, 547, 548, 549,
                                   and/or 550, including any objections to claims and any related set offs, and any
                                   and all facts, claims, issues, rights, remedies, and/or defenses related thereto,
                                   including the claims and causes of action set forth in Exhibit H305.

                            Otherwise, HPRN may provide notice of additional claims and/or causes of
                            action by a supplement to the Plan to be filed within seven (7) days of the
                            Confirmation Hearing.

              1.7.4.               Objections to Claims. Except to the extent that a claim is already allowed
                                   pursuant to a final non-appealable order, HPRN reserves the right to object to
                                   all claims (including scheduled claims, and regardless of whether such claims
                                   are noted as contingent, liquidated, or disputed in the schedules) through and
                                   until and even after the Effective Date. Therefore, even if your claim is allowed
                                   for voting purposes, you may not be entitled to a distribution if an objection to
                                   your claim is later upheld.

1.8.          Current And Historical Financial Conditions.

              1.8.1.               The assets and liabilities of HPRN are described in the Schedules (Docket No.
                                   16) and Statement of Financial Affairs (Docket No. 32) filed by HPRN in this
                                   case. A summary of the assets of and claims against HPRN appears in




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                                   Exhibit H3011 and Exhibit H302 attached hereto. The deadline for filing
                                   proofs of claim occurred/occurs on January 12, 2024, and May 1, 2024 for
                                   governmental entities.

              1.8.2.               A liquidation analysis appears in Exhibit H303.

              1.8.3.               Projections and/or a cash waterfall in support of the Plan appear in Exhibit
                                   H304.

                            BECAUSE THE PLAN SCHEDULES MAY CHANGE ONCE CREDITORS
                            REVIEW AND PROVIDE COMMENTS ON THE PLAN, DEBTOR MAY
                            AMEND THE PLAN SCHEDULES WITH THE PLAN SUPPLEMENT
                            SEVEN (7) DAYS PRIOR TO THE CONFIRMATION HEARING OR
                            OTHERWISE PRIOR TO THE CONFIRMATION HEARING.

              1.8.4.               HPRN reserves the right to amend any of the schedules and other information
                                   in support of the Plan prior to the Confirmation Hearing.

                            NO CLAIM SHOULD BE DEEMED TO BE ALLOWED IN ANY
                            PARTICULAR AMOUNT BASED UPON A DESCRIPTION OR
                            REFERENCE TO ANY SUCH CLAIM OR TO ANY CLASS OF CLAIMS
                            IN THE EXHIBITS. THE DEBTOR DOES NOT WAIVE ANY FACT,
                            CLAIM, ISSUES, RIGHT, REMEDY, AND/OR DEFENSE WITH RESPECT
                            TO A DESCRIPTION OR REFERENCE TO ANY CLAIM IN THE
                            EXHIBITS.

2. Summary/Overview of Plan.

2.1.          The Plan provides for the distribution of the proceeds of one or more Code § 363(f) sale of
              the assets of the Debtor and the liquidation and or reorganization of the Debtor into a
              smaller company. As of the filing of this plan, the Debtor anticipates filing two or three
              different sale notices under the existing Sales Procedures Order (Docket No. 191) which
              will result in at least $2 million to be applied to the waterfall of allowed claims in this case.

3. CLASSIFICATION OF CLAIMS

       The classification of claims and interests and the impairment of claims and interests is set forth
       in Sections 3-4 below and/or in the Exhibits to the Plan.

4. TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS, U.S. TRUSTEES FEES,
   AND PRIORITY TAX CLAIMS

4.1.          Unclassified Claims. Certain types of claims are automatically entitled to specific
              treatment under the Code. Under Code §1123(a)(1), administrative expense claims, and

1
  The Debtor is consecutively numbering all exhibits throughout this case. The exhibits related to the plan and
disclosure statement will being with the number 300 beginning with the ballot exhibit to distinguish from previous
exhibits used in this case.


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              priority tax claims are not in classes. They are not considered impaired, and holders of
              such claims do not vote on the Plan. They may, however, object if, in their view, their
              treatment under the Plan does not comply with that required by the Code. As such, pursuant
              to Code §1129(a)(1), the Debtor has not placed such claims in any class.

4.2.          Administrative Expenses.           Administrative expenses are costs or expenses of
              administering the Debtor’s Chapter 11 case which are allowed under Code §507(a)(2).
              Administrative expenses also include the value of any goods sold to the Debtor in the
              ordinary course of business and received within 20 days before the date of the bankruptcy
              petition. The Code requires that all administrative expenses be paid on the Effective Date
              of the Plan, unless a particular claimant agrees to different treatment.

              As of the filing of this Plan, known administrative expense claims consist of the allowed
              and to be allowed, fees and expenses of Weycer Kaplan Pulaski & Zuber P.C. (“WKPZ”)
              incurred for HPRN, the allowed fees and expenses of special counsel Kabat Chapman &
              Ozmer, LLP, the allowed fees of the broker, Media Services Group, Inc., and the fees of
              the Subchapter V Trustee.

              Payment of allowed administrative expense claims may occur with the First Distribution
              or as soon thereafter as such administrative expense claims are allowed.

              Expenses incurred after the Effective Date that otherwise would constitute administrative
              expense claims before the Effective Date may be paid as such expenses are incurred.

4.3.          Priority Tax Claims. Priority tax claims are unsecured income, employment, and other
              taxes described by Code §507(a)(8). Unless the holder of such a §507(a)(8) priority tax
              claim agrees otherwise, it must receive the present value of such claim, in regular
              installments paid over a period not exceeding five (5) years from the order of relief.

              Debtor is treated as an “S-Corp” for federal income tax purposes and thus Debtor has no
              federal income tax liability. Debtor has scheduled one small claim for the IRS, which the
              Debtor may elect to dispute. Debtor is current on all payroll taxes and thus has no 940/941
              tax liability.

              The Debtor scheduled various local tax claims which did not file secured proofs of claim,
              and those tax claims will be treated as priority tax claims.

              Payment of priority tax claims, if any, may occur with the Second Distribution.

5. TREATMENT OF CLAIMS AND INTERESTS. The following are the classes set forth in
   the Plan, and the proposed treatment that they will receive under the Plan:

5.1.          Class 1 — Ad Valorem Taxes

              5.1.1.               Identity of Claims in Class: Class 1 consists of the allowed secured claim(s) of
                                   any governmental entity asserting ad valorem property tax claims against any
                                   property of the Debtor (collectively, the “Ad Valorem Tax Claimants”).



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              5.1.2.               Treatment: The Debtor may pay the allowed secured claims in Class1 in full
                                   with the Second Distribution.

              5.1.3.               Voting. Class 1 is IMPAIRED and may vote for or against the Plan.

5.2.          Class 2 — Small Business Administration (“SBA”).

              5.2.1.               Identity of Claims in Class: Class 2 consists of the allowed secured claim of
                                   the SBA. The Debtor generally does not dispute the SBA claim, except that the
                                   Debtor reserves all rights with respect to the final amount of such claim.

              5.2.2.               Treatment: The Debtor may pay the allowed secured claim the SBA in full with
                                   the Second Distribution.

              5.2.3.               Voting. Class 2 is IMPAIRED and may vote for or against the Plan.

5.3.          Class 3 — RESERVED

              5.3.1.               [SECTION RESERVED]

5.4.          Class = 4 — Allowed Secured Claims of Equipment Lenders.

              5.4.1.               Identity of Claims in Class: This class consists of the various lenders with
                                   claims secured claim equipment used at the radio stations (each an “Equipment
                                   Lender” and collectively, the “Equipment Lenders”).

              5.4.2.               Treatment: Pursuant to one or more Sale Orders, any lien(s) of an Equipment
                                   Lender which the Debtor has not challenged as of the operative Distribution
                                   Date shall attach to the proceeds of the sale resulting from the Sale Orders.
                                   Upon the Distribution Date, the Debtor shall remit the face amount of balance
                                   of the allowed claim of the Equipment Lender, without post-petition interest
                                   and attorneys fees, and without a process to determine the value of the collateral
                                   and/or bifurcate the allowed claim between secured and unsecured portions, in
                                   full and final settlement of the entire claim of the Equipment Lender and to
                                   discharge any and all liens of the Equipment Lender.

                                   The treatment described above is intended to make the distribution process
                                   more efficient and less costly for all parties involved. The Debtor possibly will
                                   pay more than the Debtor needs to pay based upon the value of the collateral,
                                   but, on the other hand, the Debtor postulates that the time, effort, and expense
                                   to engage in valuation litigation would outweigh any potential benefit.
                                   Furthermore, equipment lenders have remained patient with the Debtor
                                   throughout this case.

                                   If any Equipment Lender objects to this treatment, then the Debtor may elect to
                                   file an appropriate action in this case, a claim objection or otherwise, in order
                                   to value the collateral and to seek to bifurcate the claim between allowed



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                                   secured portions and general unsecured portions, with any distribution being
                                   delayed until a resolution of such dispute.

                                   Furthermore, to the extent that the Debtor scheduled the Equipment Lender as
                                   disputed in Schedule D and the Equipment Lender failed to file a proof of claim,
                                   then the Equipment Lender shall be deemed to have forfeited the right to contest
                                   the amount determined by the Debtor in the schedules to discharge any and all
                                   liens of the Equipment Lender.

                                   Payment of allowed claims of Equipment Lender may occur with the Second
                                   Distribution.

              5.4.3.               Voting. Class 4 is IMPAIRED and may vote for or against the Plan.

                                   Because the collateral of each Equipment Lender is unique, the Debtor reserves
                                   the right to create a separate class for each Equipment Lender for voting
                                   purposes. (The treatment for each Equipment Lender proposed is the same and
                                   is not repeated any number of times for the sake of efficient drafting.)

5.5.          Class 5 — General Unsecured Claims. This class consists of allowed general unsecured
              claims that are not secured by property of the estate and that are not entitled to priority
              under §507(a) of the Code.

              5.5.1.               Identity of General Unsecured Claims:        The holders of allowed general
                                   unsecured claims.

              5.5.2.               Treatment of General Unsecured Claims: The allowed general unsecured
                                   claims will receive a pro-rata distribution of any funds remaining in the Debtor
                                   after the satisfaction of administrative expense claims, priority claims, and all
                                   other allowed claims in Classes 1-4 above. Distributions may occur with the
                                   Third Distribution.

              5.5.3.               Voting. Class 5 is IMPAIRED and may vote for or against the Plan.

5.6.          Class 6 — Class of Equity Interest Holders. The holders of equity interests in the Debtor
              will retain their interests. Thus, Monte Spearman will remain the sole member of the
              Debtor.

              Class 6 is unimpaired and is deemed to accept the Plan.

6.            ALLOWANCE AND DISALLOWANCE OF CLAIMS

6.1.          Disputed Claim. A disputed claim is a claim that has not been allowed or disallowed by a
              final non-appealable order, and as to which either: (i) a proof of claim has been filed or
              deemed filed, and the Debtor or another party in interest has filed an objection; or (ii) no
              proof of claim has been filed, and the Debtor has scheduled such claim as disputed,
              contingent, or unliquidated.



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6.2.          Delay of Distribution on a Disputed Claim. No distribution will be made on account of a
              disputed claim unless such claim is allowed by a final non-appealable order.

6.3.          Settlement of Disputed Claims. After the Effective Date, the Debtor will have the power
              and authority to settle and compromise a disputed claim without court approval and without
              compliance with Bankruptcy Rule 9019.

7.            PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED LEASES

7.1.          The Resolution Agreement and one or more notices under the Sale Procedures Order
              provides the process for the assumption and assignment of leases of nonresidential real
              property, and/or the entry of new leases, as applicable, regarding Vertical Bridge.

7.2.          Other executory contracts and unexpired lease may be assumed and assigned as part of the
              one or more notices under the Sale Procedures Order or other motion of the Debtor.

7.3.          The Debtor may file one or more motions to assume executory contracts prior to the
              effective date of the Plan.

7.4.          Otherwise, any executory contracts and/or unexpired lease that are not assumed by the
              Debtor and/or subject to a motion or notice to assume, as of the Effective Date, shall be
              rejected as of the Effective Date.

7.5.          PROOF OF CLAIM FOLLOWING REJECTION: A proof of a claim arising from
              the rejection of an executory contract or unexpired lease under this section must be
              filed no later than fourteen (14) days after the date of the order confirming this Plan.
              Any such claim will be treated, if allowed general unsecured claim and the general
              unsecured creditor class will be adjusted accordingly.

8.      MEANS OF IMPLEMENTING THE PLAN.

8.1.          Sources of cash to fund the Plan.

              8.1.1.               The proceeds of the radio station asset sales shall provide the cash necessary to
                                   satisfy the requirements under the Plan.

8.2.          Distribution of Payments.

              8.2.1.               The reorganized Debtor shall be the disbursing agent for payments under the
                                   Plan, or in the event of a confirmation under Code §1191(b), then the
                                   Subchapter V Trustee shall act as the disbursing agent, unless the Court orders
                                   otherwise. The Debtor hereby moves to be the disbursing agent in the vent of
                                   confirmation under Code §1191(b).

              8.2.2.               The Debtor anticipates distributions occurring at three points or stages
                                   following the Effective Date.




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                              8.2.2.1.             First Distribution. One or more distributions occurring soon after the
                                                   Effective Date and concurrent with the closing of one or more asset
                                                   sales, of the funds necessary to satisfy cure claims and allowed
                                                   administrative expense claims allowed to date for which any balance is
                                                   pending (the “First Distribution”).

                              8.2.2.2.             Second Distribution. One or more distributions occurring soon after
                                                   the Effective Date and concurrent the closing of one or more asset sales,
                                                   of the funds necessary for lease cures (i.e. Vertical Bridge) and the funds
                                                   necessary to make the distributions necessary to any remaining allowed
                                                   administrative expense claims still to be paid, cure claims still to be
                                                   paid, and Classes 1-4, including the Equipment Lenders (the “Second
                                                   Distribution”). One or more Second Distributions may occur to
                                                   different groups of Equipment Lenders depending upon the timing of
                                                   the closing and funding of the relevant sales.

                              8.2.2.3.             Third Distribution. One or more distributions occurring after the
                                                   completion of the Second Distribution, including distributions to
                                                   Class 5 (the “Third Distribution”).

  8.3.          Post-confirmation Management. The post-confirmation management of the Debtor shall
                consist of Monte Spearman.

  8.4.          Risk Factors. The proposed Plan has the following risks: The Debtor will fail to close
                the sales contemplated under one or more notices filed under the Sales Procedures Order
                and/or under the Plan.

9. GENERAL PROVISIONS

  9.1.          Definitions and Rules of Construction. The definitions and rules of construction set forth
                in Code §§101 and 102 shall apply when terms are defined or construed in the Code. Other
                terms are defined throughout the Plan, and terms may be defined in, and then used in the
                Plan and vice versa. Any reference to the Debtor that applies to any period of time after
                the Effective Date shall refer to the Debtor as the Reorganized Debtor. In addition, the
                following terms used in the Plan are defined below.

                9.1.1.               “Confirmation Hearing” shall mean and refer to the hearing conducted by the
                                     Court to consider this Plan.

                9.1.2.               “Confirmation Order” shall mean and refer to the order confirming this Plan.

                9.1.3.               “Estate Claims” shall mean and refer to any claims and/or causes of action of
                                     the Debtor and/or the estate identified in the schedules, the SOFA, the Plan
                                     (including Plan §§ 1.8.8 and 13.2 and/or Exhibit H305), and/or the Plan
                                     Supplement.




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9.2.          Severability. If any provision in this Plan is determined to be unenforceable, the
              determination will in no way limit or affect the enforceability and operative effect of any
              other provision of this Plan.

9.3.          Captions. The headings contained in this Plan are for convenience of reference only and
              do not affect the meaning or interpretation of this Plan.

9.4.          Primacy of the Plan and Confirmation Order. To the extent of any conflict or
              inconsistency between the provisions of the Plan on the one hand, and the Confirmation
              Order on the other hand, the provisions of the Confirmation Order shall govern and control.
              Unless directed by the Court to so earlier, the Debtor will file notice of a proposed
              Confirmation Order seven (7) days prior to the Confirmation Hearing.

9.5.          Binding Effect. The rights and obligations of any entity named or referred to in this Plan
              will be binding upon, and will inure to the benefit of the successors or assigns of such
              entity.

9.6.          Controlling Effect. Unless a rule of law or procedure is supplied by federal law (including
              the Code or the Federal Rules of Bankruptcy Procedure), the laws of the State of Texas
              govern this Plan and any agreements, documents, and instruments executed in connection
              with this Plan, except as otherwise provided in this Plan.

9.7.          Corporate Governance. After the Effective Date of the order confirming the Plan, the
              management of the Debtor will consist of Monte Spearman.

9.8.          Corporate Authority. All actions and transactions contemplated under the Plan shall be
              authorized upon confirmation of the Plan without the need of further approval, notice or
              meetings, that might otherwise be required under applicable state law or otherwise, other
              than the notice provided by serving this Plan on all known creditors of HPRN, all interest
              holders, and all current directors or managers of HPRN.

9.9.          Sales of Property. For the avoidance of doubt, any sales of property that occur under this
              plan by the Reorganize Debtor that may occur after confirmation and the occurrence of the
              effective date, require no further approval of the Court.

9.10. Fixing of Claims. To the extent that the modification and/or fixing of any claim occurs
      under the Plan, the Plan also constitutes an objection to any filed proof of claim and/or
      scheduled claim under Code §502 and/or Bankruptcy Rules 3007 and 9014, and any
      applicable Local Rules.

9.11. Settlement of Claims and Disputes. The Plan also constitutes a motion under Bankruptcy
      Rule 9019 to the extent necessary to confirm the Plan.

9.12. Debtor name change. The Debtor may change its name and/or adopt one or more business
      aliases after the Effective Date.




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10. EFFECT OF CONFIRMATION OF PLAN — DISCHARGE

On the Effective Date of the Plan, the Debtor shall be discharged from any debt that arose before
confirmation of the Plan, subject to the occurrence of the effective date, to the extent specified in
Code §1141(d)(1)(A) except that the Debtor shall not be discharged of any debt (i) imposed by the
Plan, (ii) of a kind specified in Code §1141(d)(6)(A) if a timely complaint was filed in accordance
with Bankruptcy Rule 4007(c), or (iii) of a kind specified in Code §1141(d)(6)(B). After the
Effective Date of the Plan your claims against the Debtor will be limited to the debts described in
clauses (i) through (iii) of the preceding sentence.

11. EFFECTIVE DATE OF PLAN.

The effective date of the Plan (the “Effective Date”) shall be the first business day following the
date that is fourteen (14) days after the entry of the order of confirmation. If, however, a stay of
the Confirmation Order is in effect on that date, the Effective Date will be the first business day
after the date on which the stay of the Confirmation Order expires or is otherwise terminated. The
Effective Date may occur without further notice by the Debtor.

12. FINAL DECREE

Once the estate has been fully administered, as provided in Rule 3022 of the Federal Rules of
Bankruptcy Procedure, the Debtor, or such other party as the Court shall designate in the
Confirmation Order, shall file a motion with the Court to obtain a final decree to close the case.
Alternatively, the Court may enter such a final decree on its own motion.

13. OTHER PLAN PROVISIONS

13.1. Scope and Retention of Jurisdiction. The Bankruptcy Court shall retain jurisdiction to:
      (i) hear and determine pending applications for the assumption or rejection of contracts or
      leases and the allowance of Claims resulting therefrom; (ii) hear and determine any and all
      adversary proceedings, applications, and contested matters, including any remands of
      appeals, and including any Estate Actions; provided, however, that the Reorganized Debtor
      shall not be required to seek or obtain approval of the Bankruptcy Court under Bankruptcy
      Rule 9019 or otherwise as to the settlement or compromise of any Estate Actions post-
      Effective Date; (iii) ensure that distributions to holders of Allowed Claims are
      accomplished as provided herein; (iv) hear and determine any timely objections to or
      applications concerning Claims or the allowance, classification, priority, estimation, or
      payment of any Claim or Interest, and to enter Estimation Orders; (v) hear and determine
      all Fee Applications and Fee Claims; provided, however, that the Reorganized Debtor shall
      not be required to seek or obtain approval of the Bankruptcy Court under section Code
      §330 or otherwise as to the allowance or payment of professional fees post-Effective Date;
      (vi) enter and implement such orders as may be appropriate in the event the Confirmation
      Order is for any reason stayed, revoked, modified, reversed, or vacated; (vii) hear and
      determine disputes arising in connection with the execution, interpretation,
      implementation, consummation, or enforcement of the Plan; (viii) enter and implement
      such orders as may be necessary or appropriate to execute, interpret, implement,
      consummate, or enforce the Plan and the transactions contemplated thereunder; (ix)



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              consider any modification of the Plan pursuant to Code § 1127, to cure any defect or
              omission or to reconcile any inconsistency in any order of the Bankruptcy Court, including,
              without limitation, the Confirmation Order; (x) enter and implement orders or take such
              other actions as may be necessary or appropriate to restrain interference by any entity with
              the consummation or implementation of the Plan, including, without limitation, to issue,
              administer and enforce injunctions provided for in the Plan and the Confirmation Order;
              (xi) recover all assets of the Debtor and property of the estate, wherever located; (xii) hear
              and determine matters concerning state, local, and federal taxes in accordance with Code
              §§ 346, 505, and 1146; (xiii) hear and determine any other matter not inconsistent with the
              Code and title 28 of the United States Code that may arise in connection with or related to
              the Plan; and enter a final decree closing the Bankruptcy Case; and (xiv) to reopen the case
              and enforce the Plan as set forth in Section 5 above.

13.2. Litigation and retained causes of action. HPRN expressly retains the claims and causes
      of action referenced and described in Exhibit H305.

              Otherwise, HPRN may provide notice of additional claims and/or causes of action by a
              supplement to the Plan to be filed within seven (7) days of the Confirmation Hearing.



                                                              {continued on following page}




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                                                                     HIGH PLAINS RADIO NETWORK, LLC,
                                                                     DEBTOR AND DEBTOR-IN-
                                                                     POSSESSION

                                                                     By:

                                                                     /s/ Monte Spearman
                                                                     By: Monte Spearman, Manager/President


Proposed Counsel to the Debtor and
Debtor in Possession:

WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
Jeff Carruth (SBT #24001846)
2408 Hibernia St. Ste 105
Dallas Texas 75204
(713) 341-1158
E-mail: jcarruth@wkpz.com




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 1

 2                                                                      EXHIBIT H301
 3                                                                  Assets as of Petition Date
 4                                                                  No Admission of Liability
                    Asset Description                        Value on         Realizable                                 NOTE
                                                           Schedule A-B          Value
                                                          (Docket No. 15)
 5
 6   Part 1: Cash and Cash Equivalents                            7,486.47             7,486.47
 7   Part 2: Deposits and Prepayments                                 0.00                 0.00
 8   Part 3: Accounts Receivable                                180,416.00                 0.00
 9   Part 4: Investments                                              0.00                 0.00
     Part 5: Inventory, excluding agriculture assets                  0.00                 0.00
10
11 Part 6: Farming and Fishing-related                                0.00                0.00
   Part 7: Office Furniture, fixtures, and                      106,000.00           25,000.00
12 equipment; and collectibles
   Part 8: Machinery, equipment, and vehicles                 3,311,000.00          500,000.00 Any unencumbered equipment is scattered in various
   (Scheduled at REPLACEMENT VALUE)                                                            locations, equipment is specialized for the operations of
                                                                                               this Debtor, equipment depends on equipment that would
                                                                                               repossessed by secured lenders, and/or equipment only
13                                                                                             has value in current configurations.
14 Part 9: Real Property                                                0.00              0.00
   Part 10: Intangibles and intellectual property                       0.00              0.00
15
16 Part 11: All other assets                                            0.00               0.00
17                        TOTAL                               3,604,902.47          532,486.47
18
19 C:\Users\jcarruth\ND Office Echo\VAULT-C9SL7ZTY\[plan exhibits HPRN 001 4938-7523-5630 v.3.xlsx]H302




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 1                                                                                                       EXHIBIT H302
 2                                                                                                       NO ADMISSION OF LIABILTY
 3                                                                                                                          Estimated Allow - NO ADMISSION, DEBTOR RESERVES ALL RIGHTS
                 Creditor                 Eqip Station         Source    Disputed    Class      Total Claim         Admin            Secured          Priority       Unsecured       Total Allow                       Notes
  4                                                                       1 = yes               Sched/POC
  5 WKPZ - Pre-Effective Date                 n/a                tbd         0      503,507     150,000.00       150,000.00             0                0               0           150,000.00            Est. pending final, $36k paid
  6 WKPZ - Post-Effective Date                                               0      503,507      50,000.00       50,000.00              0                0               0            50,000.00                      Estimate
  7 Kabat Chapman & Ozmer, LLP                n/a              DE259         0      503,507     63,593.00        63,593.00              0                0               0            63,593.00                    Final allowed
  8 MSG broker (Whitley)                      n/a              DE072         0      503,507      60,000.00        60,000.00             0                0               0            60,000.00       Agreed commission, less than contract
  9 Vertical Bridge RETI LLC                various            DE 253        0      503,507     300,000.00       300,000.00             0                0               0           300,000.00       Cure claims per Resolution Agreement
 10 SubV Trustee                                                             0      503,507      10,000.00        10,000.00             0                0               0            10,000.00                      Estimate
    Operrationanal and/or misc.               n/a                tbd         0      503,507      10,000.00        10,000.00             0                0               0            10,000.00                      Estimate
 11 wind down expenses
 12 Ailco                                      n/a         Sched D          1          4           24,453.00              0.00        24,453.00              0.00            0.00       24,453.00 Disputed + No POC
 13 American Express                           n/a         Sched F          0          5              655.00              0.00             0.00              0.00            0.00            0.00 Revised amount
 14 American Express                           n/a         Sched F          0          5           26,821.53              0.00             0.00              0.00       22,000.00       22,000.00 Revised amount
 15 American Express                           n/a         Sched F          0          5            2,269.32              0.00             0.00              0.00        1,200.00        1,200.00 Revised amount
 16 American Express                           n/a         Sched F          0          5           17,524.53              0.00             0.00              0.00       14,000.00       14,000.00 Revised amount
 17 Amur                                       n/a         Sched D          1          0            80761.00               0.00             0.00              0.00            0.00            0.00 Superceded by POC
 18 Amur                                       n/a         Sched D          1          0            61782.00               0.00             0.00              0.00            0.00            0.00 Superceded by POC
 19 Amur                                       n/a         Sched D          1          0           107115.00               0.00             0.00              0.00            0.00            0.00 Superceded by POC
 20 Amur                                       n/a         Sched D          1          0            74778.00               0.00             0.00              0.00            0.00            0.00 Superceded by POC
 21 Amur Equipment Finance, Inc.               n/a         Sched F          0          0            98453.92               0.00             0.00              0.00            0.00            0.00 Superceded by POC
    Amur Equipment Finance, LLC         Studio Equipment poc 021            0          4           98,453.92              0.00        98,453.92              0.00            0.00       98,453.92 Amur #1067515
                                           Pine Bluff Ar
                                         KYBE Tipton Ok
                                       KVWC AM Veron Tx
 22                                     KVWC FM Vernon
 23 Arrakis Automations                        n/a         Sched F          0          5             900.00               0.00             0.00              0.00            0.00            0.00   Revised amount
 24 ASCAP                                      n/a         Sched F          0          0           5,000.00               0.00             0.00              0.00        5,000.00            0.00   Superceded by POC
 25 ASCAP                                      n/a         Sched F          0          0         103,172.00               0.00             0.00              0.00      103,172.00            0.00   Superceded by POC
 26 ASCAP (American Society of Compo           n/a         poc 022          0          5         103,172.00               0.00             0.00              0.00       62,000.00       62,000.00   Object - audit adjustment
 27 Ascentium                                  n/a         Sched D          1          4          59,700.00               0.00             0.00              0.00            0.00            0.00   See POC 013 - is dba of Regions
 28 Atmos Energy                               n/a         Sched F          0          5             385.00               0.00             0.00              0.00            0.00            0.00   Paid - monthly utility
 29 Balboa                                     n/a         Sched D          1          0          71,295.00               0.00             0.00              0.00            0.00            0.00   Superceded by POC
 30 Balboa Capital Corporation                 n/a         Sched F          0          0          73,844.18               0.00             0.00              0.00            0.00            0.00   Superceded by POC
 31 Balboa Capital Corporation          KRIA Plainview, TX poc 024          0          4          73,844.18               0.00        73,844.18              0.00            0.00       73,844.18
 32 Black Hills Natural Gas                    n/a         Sched F          0          5             120.00               0.00             0.00              0.00            0.00            0.00   Paid - monthly utility
 33 Blue Bridge Financial, Inc.                n/a         Sched F          0          0          97,415.10               0.00             0.00              0.00            0.00            0.00   Superceded by POC
 34 Bankfinancial (Blue Bridge)        KKYN-Plainview, TX poc 020           0          4          97,415.10               0.00        97,415.10              0.00            0.00       97,415.10
 35 Blue Ridge                                 n/a         Sched D          1          0          94,550.00               0.00             0.00              0.00            0.00            0.00   Superceded by POC
 36 Bluepeak Telephone                         n/a         Sched F          0          4             320.00               0.00             0.00              0.00          320.00          320.00
 37 Broadcast Music, Inc.                      n/a         Sched F          0          0           5,500.00               0.00             0.00              0.00            0.00            0.00   Superceded by POC
 38 Broadcast Music, Inc.                      n/a         poc 006          0          4          14,178.10               0.00             0.00              0.00       10,300.00       10,300.00   Object - audit adjustment
 39 Broadcast Music, Inc.                      n/a         Sched D          0          0          14,178.10               0.00             0.00              0.00            0.00            0.00   Superceded by POC
 40 Cellco Partnership d/b/a Verizon W         n/a         Sched F          0          0           2,617.26               0.00             0.00              0.00            0.00            0.00   Superceded by POC
 41 Cellco Partnership d/b/a Verizon W         n/a         poc 018          0          4           2,617.26               0.00             0.00              0.00            0.00            0.00   Paid - monthly utility
 42 City of Altus                              n/a         Sched F          0          4             425.00               0.00             0.00              0.00            0.00            0.00   Paid - monthly utility
 43 City of Hereford                           n/a         Sched F          0          4             120.00               0.00             0.00              0.00            0.00            0.00   Paid - monthly utility
 44 City of Plainview                          n/a         Sched F          0          4             120.00               0.00             0.00              0.00            0.00            0.00   Paid - monthly utility
 45 City of Vernon                             n/a         Sched F          0          4              60.00               0.00             0.00              0.00            0.00            0.00   Paid - monthly utility
 46 Crest Capitol                                          Sched D          1          4         147,297.00               0.00             0.00              0.00            0.00            0.00   See POC 013 - now US Bank
 47 Crest Capitol                                          Sched D          1          4          29,061.00               0.00             0.00              0.00            0.00            0.00   See POC 013 - now US Bank
 48 Dept. of Treasury - IRS                    n/a         poc 014          0        507           1,014.16               0.00             0.00              0.00            0.00            0.00   Debtor belives correct amount is $0.00.
 49 Eastland County Appraisal District         n/a         Sched D          0          0           3,544.04               0.00             0.00              0.00            0.00            0.00   Superceded by POC
 50 Eastland County                                        poc 002          0          1           3,544.04               0.00             0.00              0.00            0.00            0.00   Debtor belives correct amount is $0.00.
 51 Entergy Utiltiy                            n/a         Sched F          0         20           3,200.00               0.00             0.00              0.00            0.00            0.00   Paid - monthly utility




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 1                                                                                                       EXHIBIT H302
 2                                                                                                       NO ADMISSION OF LIABILTY
 3                                                                                                                          Estimated Allow - NO ADMISSION, DEBTOR RESERVES ALL RIGHTS
                 Creditor                 Eqip Station          Source    Disputed   Class      Total Claim         Admin            Secured          Priority       Unsecured       Total Allow                        Notes
 4                                                                         1 = yes              Sched/POC
 52 Excel Energy                              n/a        Sched F              0       20               775.00             0.00             0.00              0.00            0.00            0.00    Paid - monthly utility
 53 Federal Communications Com.               n/a        Sched F              0       20           68,000.00              0.00             0.00              0.00       84,000.00       84,000.00    Revised amount
 54 Global Music Rights                       n/a        Sched F              0       20            1,200.00              0.00             0.00              0.00            0.00            0.00    Revised amount
 55 Global Music Rights                       n/a        Sched F              0       20            4,000.00              0.00             0.00              0.00            0.00            0.00    Revised amount
 56 Global Music Rights                       n/a        Sched F              0       20           31,000.00              0.00             0.00              0.00       23,000.00       23,000.00    Revised amount
 57 Hamni Bank                                n/a        Sched D              1        0           95,217.00              0.00             0.00              0.00            0.00            0.00    Superceded by POC
 58 Hanmi Bank                                n/a        Sched D              0        0          169,767.68              0.00             0.00              0.00            0.00            0.00    Superceded by POC
 59 Hanmi Bank                         KEYB Mangum, OK poc 009                0        4          169,767.68              0.00       169,767.68              0.00            0.00      169,767.68
 60 Hanszen LaPorte                           n/a        Sched F              0        0          125,000.00              0.00             0.00              0.00            0.00            0.00    Superceded by POC
 61 Hanszen Laporte, LLP                      n/a        poc 028              0        5          122,351.23              0.00             0.00              0.00      122,351.23      122,351.23
 62 Hitachi                                              Sched D              1        4           43,676.00              0.00             0.00              0.00            0.00            0.00    See POC 005 - now Mitsubishi.
 63 iHeart Media                              n/a        Sched F              0        0                 0.00             0.00             0.00              0.00            0.00            0.00    Superceded by POC
 64 iHeart Media                              n/a        poc 015              0        5            5,200.00              0.00             0.00              0.00            0.00            0.00    Object - audit adjustment
 65 Internal Revenue Service                  n/a        Sched F              0        0            1,014.16              0.00             0.00              0.00            0.00            0.00    Superceded by POC
 66 Liberty Mutual Insurance                  n/a        Sched F              0        5            3,425.00              0.00             0.00              0.00            0.00            0.00    Paid - recurring insurance
 67 Litefund Solutions                        n/a        Sched F              0        5           47,000.00              0.00             0.00              0.00       47,000.00       47,000.00
 68 Malakoff ISD                              n/a        Sched D              0        0            1,974.00              0.00             0.00              0.00            0.00            0.00    Superceded by POC
 69 Malakoff ISD                              n/a        poc 007              0        1            1,974.00              0.00             0.00              0.00            0.00            0.00    Debtor belives correct amount is $0.00.
 70 Marlin - Peak Com.                        n/a        Sched D              1        0           51,467.00              0.00             0.00              0.00            0.00            0.00    Superceded by POC
    Marlin Lease Corp                       Studio       poc 010              0        4           53,375.85              0.00        53,375.85              0.00            0.00       53,375.85
 71                                      Frederick OK
 72 Marlin Leasing Corp                       n/a        Sched F             0        0           53,375.85               0.00             0.00              0.00            0.00            0.00 Superceded by POC
 73 Media Facilities                          n/a        Sched F             0        5           12,500.00               0.00             0.00              0.00       12,500.00       12,500.00
 74 Meridian                                  n/a        Sched D             1        0          106,275.00               0.00             0.00              0.00            0.00            0.00 Superceded by POC
 75 Meridian Equipment Finance, LLC           n/a        Sched F             0        0           92,445.97               0.00             0.00              0.00            0.00            0.00 Superceded by POC
    Meridian Equipment Finance, LLC     KJOK Hollis, OK poc 011              0        4           92,445.97               0.00        92,445.97              0.00            0.00       92,445.97
                                       KTAT Frederick OK
 76
 77 Midland States Bank                                    poc 029           0        4           38,666.69               0.00        38,666.69              0.00            0.00       38,666.69    originally Summit Funding Group Inc.
 78 Mitsubishi HC                              n/a         Sched D           1        0           45,975.00               0.00             0.00              0.00            0.00            0.00    Superceded by POC
 79 Mitsubishi HC Capital America, Inc.                    poc 005           0        4           45,975.00               0.00        45,975.00              0.00            0.00       45,975.00
 80 New Lane Fin. B-M                                      Sched D           1        5           11,609.00               0.00        11,609.00              0.00            0.00       11,609.00    Disputed + No POC
 81 North Arkansas Electric                    n/a         Sched F           0        5              600.00               0.00             0.00              0.00            0.00            0.00    Paid - monthly utility
 82 Optimum Telephone                          n/a         Sched F           0        5            1,230.00               0.00             0.00              0.00            0.00            0.00    Paid - monthly utility
 83 Pawnee                                     n/a         Sched D           1        0          107,578.84               0.00             0.00              0.00            0.00            0.00    Superceded by POC
 84 Pawnee Leasing Corporation           KKNM -Friona, TX poc 008            0        4          107,578.84               0.00       107,578.84              0.00            0.00      107,578.84
 85 Regions Bank d/b/a Ascentium Cap           n/a         Sched F           0        0           52,265.07               0.00             0.00              0.00            0.00            0.00    Superceded by POC
 86 Regions Bank d/b/a Ascentium Capital                   poc 019           0        4           52,265.07               0.00        52,265.07              0.00            0.00       52,265.07
 87 SBA Covid-19 Disater Loan                  n/a         Sched D           1        0           65,000.00               0.00             0.00              0.00            0.00            0.00    Superceded by POC
 88 SecureNet                                  n/a         Sched F           0        5              350.00               0.00             0.00              0.00            0.00            0.00    Paid - Recurring vendor
 89 SESAC                                      n/a         Sched F           0        5              375.00               0.00             0.00              0.00            0.00            0.00    Paid - Recurring vendor
 90 SESAC                                      n/a         Sched F           0        5           16,000.00               0.00             0.00              0.00        3,700.00        3,700.00    Revised amount
 91 Summit                                     n/a         Sched F           0        0           14,125.83               0.00             0.00              0.00            0.00            0.00    Superceded by POC
 92 Summit                                     n/a         Sched D           1        0           38,666.00               0.00             0.00              0.00            0.00            0.00    Superceded by POC
 93 Summit                                     n/a         Sched D           1        0           13,951.00               0.00             0.00              0.00            0.00            0.00    Superceded by POC
    Summit                              KREW Plainview, TX poc 023           0        4           14,125.83               0.00        14,125.83              0.00            0.00       14,125.83
 94                                      KZYP Malvern, AR
 95 Summit Natural Gas                          n/a         Sched F          0        5               120.00              0.00              0.00             0.00             0.00            0.00   Paid - monthly utility
 96 The County of Henderson, Texas              n/a         Sched D          1        0             1,237.65              0.00              0.00             0.00             0.00            0.00   Superceded by POC
 97 The County of Henderson, Texas, co          n/a         poc 003                   1             1,237.65              0.00              0.00             0.00             0.00            0.00   Paid by Media Properties
 98 The County of Stephens, Texas                           Sched D          1        0             3,524.41              0.00              0.00             0.00             0.00            0.00   Superceded by POC
 99 The County of Stephens, Texas collecting property taxes poc 001          0        1             3,524.41              0.00              0.00             0.00             0.00            0.00   Paid by Media Properties



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 1                                                                                                                 EXHIBIT H302
 2                                                                                                                 NO ADMISSION OF LIABILTY
 3                                                                                                                                    Estimated Allow - NO ADMISSION, DEBTOR RESERVES ALL RIGHTS
                Creditor                Eqip Station          Source       Disputed        Class           Total Claim        Admin            Secured          Priority       Unsecured       Total Allow                       Notes
 4                                                                          1 = yes                        Sched/POC
100 The Fundworks                            n/a         Sched F               0             0                89,000.00            0.00               0.00             0.00            0.00            0.00   Superceded by POC
101 The Fundworks LLc                        n/a         Sched D               0             0               114,178.50            0.00               0.00             0.00            0.00            0.00   Superceded by POC
102 The Fundworks LLC                        n/a         poc 004               0             5               114,178.50            0.00               0.00             0.00      114,178.50      114,178.50   UCC-1 is within preference period.
103 Turbo Capital                            n/a         Sched F               0             5                17,500.00            0.00               0.00             0.00       17,500.00       17,500.00
104 TXU Utiltiy                              n/a         Sched F               0             5                 1,600.00            0.00               0.00             0.00            0.00            0.00   Paid - monthly utility
105 U.S. Bank N.A. d/b/a U.S. Bank Equ       n/a         Sched F               0             0               199,266.04            0.00               0.00             0.00            0.00            0.00   Superceded by POC
106 U.S. Bank N.A.                                       poc 013               0             4               199,266.04            0.00         199,266.04             0.00            0.00      199,266.04
107 U.S. Small Business Admin                n/a         poc 012               0             2                69,296.33            0.00          69,296.33             0.00            0.00       69,296.33
108 U.S. Small Business Administration       n/a         Sched F               0             0                69,296.33            0.00               0.00             0.00            0.00            0.00   Superceded by POC
109 Union Funding Source, Inc.               n/a         poc 025               0             5               110,109.25            0.00               0.00             0.00      110,109.25      110,109.25   UCC-1 is within preference period.
110 United First LLC                         n/a         Sched F               0             0                 7,746.48            0.00               0.00             0.00            0.00            0.00   Superceded by POC
111 United First, LLC                        n/a         poc 026               0             5                 7,746.48            0.00               0.00             0.00        7,746.48        7,746.48
112 United Funding Source, Inc.              n/a         Sched F               1             0               110,109.25            0.00               0.00             0.00            0.00            0.00   Superceded by POC
113 Verizon Cell Phone                       n/a         Sched F               0             5                 1,900.00            0.00               0.00             0.00            0.00            0.00   Paid - monthly utility
114 Vertical Bridge                          n/a         Sched F               1             0               999,999.00            0.00               0.00             0.00            0.00            0.00
115 Vertical Bridge                          n/a         Sched F               1             0               725,000.00            0.00               0.00             0.00            0.00            0.00
116 Vertical Bridge REIT, LLC                n/a         Sched F               1             0             4,546,618.86            0.00               0.00             0.00            0.00            0.00
117 Vertical Bridge REIT, LLC                n/a         poc 027               1             0             4,546,618.86            0.00               0.00             0.00            0.00            0.00
118 Vertical Bridge REIT, LLC                n/a         DE 0253               0             5             1,500,000.00            0.00               0.00             0.00    1,500,000.00    1,500,000.00   Settlement amount
119 Wintrust Specialty Finance               n/a         Sched F               0             0                60,112.08            0.00               0.00             0.00            0.00            0.00   Superceded by POC
120 Wintrust Specialty Finance               n/a         Sched F               0             0                84,700.97            0.00               0.00             0.00            0.00            0.00   Superceded by POC
121 Wintrust Specialty Finance               n/a         poc 016               0             5                60,112.08            0.00          60,112.08             0.00            0.00       60,112.08   originaly Amur - contract # n/a
122 Wintrust Specialty Finance               n/a         poc 017               0             5                84,700.97            0.00          84,700.97             0.00            0.00       84,700.97   originaly Amur - contract # n/a
123 Zula Com                                 n/a         Sched F               0             5                 4,650.00            0.00               0.00             0.00            0.00            0.00   Debtor belives correct amount is $0.00.
124                                                 ESTIMATED TOTALS                                                         643,593.00       1,293,351.55             0.00    2,260,077.46    4,088,850.01
125 C:\Users\jcarruth\ND Office Echo\VAULT-C9SL7ZTY\[plan exhibits HPRN 001 4938-7523-5630 v.3.xlsx]H302




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                              A                                     B                   C                  D                                         E
 1

 2                                                         EXHIBIT H303 - LIQUIDATION ANALYSIS
 3                                                                               Assets as of Petition Date
 4                                                                               No Admission of Liability
                     Asset Description                        Value on            Realizable         Realizable                                   NOTE
                                                            Schedule A-B            Value              Value
                                                           (Docket No. 15)        Chapter 11
 5
 6   Part 1: Cash and Cash Equivalents                             7,486.47                  0.00           7,486.47
 7   Part 2: Deposits and Prepayments                                  0.00                  0.00               0.00
 8   Part 3: Accounts Receivable                                 180,416.00                  0.00               0.00
 9   Part 4: Investments                                               0.00                  0.00               0.00
     Part 5: Inventory, excluding agriculture assets                   0.00                  0.00               0.00
10
11 Part 6: Farming and Fishing-related                                 0.00                  0.00               0.00
   Part 7: Office Furniture, fixtures, and                       106,000.00                  0.00          25,000.00
12 equipment; and collectibles
   Part 8: Machinery, equipment, and vehicles                  3,311,000.00         2,000,000.00          500,000.00 Any unencumbered equipment is scattered in various
   (Scheduled at REPLACEMENT VALUE)                                                                                  locations, equipment is specialized for the operations of
                                                                                                                     this Debtor, equipment depends on equipment that
                                                                                                                     would repossessed by secured lenders, and/or equipment
                                                                                                                     only has value in current configurations.

                                                                                                                       Sale of radio stations as going concern with equipment
                                                                                                                       configuration intact will lead to significantly greater value
                                                                                                                       than liquidation in Chapter 7.
13
14 Part 9: Real Property                                                 0.00                 0.00              0.00
   Part 10: Intangibles and intellectual property                        0.00                 0.00              0.00
15
16 Part 11: All other assets                                             0.00                 0.00              0.00
17                                                              3,604,902.47       2,000,000.00           532,486.47
18
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                                          A                                                                          B                                                      C
 1                                                                                                         EXHIBIT H304
 2                                                                                                    Projected / Example Distribution
 3                                                                                                      NO ADMISSION OF LIABILITY
 4                                                                                                         See also Exhibit H302
 5                                 Sale Proceeds                                                                                         2,000,000.00    Low end estimate of total sales proceeds
 6                      Est. distribution to admin. + cures                                                                                643,593.00
 7                         Est. distribution to secureds                                                                                 1,293,351.55
 8                            Est. distribution priority                                                                                         0.00
 9                                 Est. unsecured                                                                                           63,055.45
10
11                                  Sale Proceeds                                                                                        2,250,000.00   Example distribution higher sales proceeds
12                      Est. distribution to admin. + cures                                                                                643,593.00
13                          Est. distribution to secureds                                                                                1,293,351.55
14                            Est. distribution priority                                                                                         0.00
15                                  Est. unsecured                                                                                         313,055.45
16
17
18
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                                                                     EXHIBIT H305

                                                       RETAINED CAUSES OF ACTION

Any and all avoidance actions under Chapter 5 of the Bankruptcy Code.

Any and all actions by which the Debtor may challenge the security interest or lien of any party or
with respect to any property.




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